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\Y NORTHERN DISTRICT OF TEXAS
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\ DALLAS DIVISION °

 

 

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Okie STATES OF AMERICA NO. gy U.S. DISTRICT COURT
Deputy

 

v.
DAVID CADENA 8-19CR-631-B
INDICTMENT

The Grand Jury charges:
Count One

Carjacking Resulting in Serious Bodily Injury
(Violation of 18 U.S.C. § 2119(2))

On or about September 21, 2019, in the Dallas Division of the Northern District of
Texas, the defendant, David Cadena, with intent to cause death and serious bodily harm,
did knowingly and unlawfully take, and attempt to take, a motor vehicle, to wit: a 2015
Toyota Corolla, bearing vehicle identification number (VIN) 5YFBURHE2FP244863
and Texas license plate number KKH2772, that had been transported, shipped, and
received in interstate and foreign commerce, from the person and the presence of another,
namely, J.K., by force and violence and by intimidation, resulting in serious bodily injury
that involved a substantial risk of death, extreme physical pain, protracted and obvious
disfigurement, and protracted loss and impairment of the function of a bodily member,

organ, and mental faculty to J.K.

In violation of 18 U.S.C. § 2119(2).

Indictment—Page 1

 

 
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ITED STATES ATTO Y

 

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Indictment—Page 2

A TRUE BILL:

 

FOREPERSON 1 /
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

Vv.

DAVID CADENA

 

INDICTMENT
18 U.S.C. § 2119(2)
Carjacking Resulting in Serious Bodily Injury
(Count 1)

1 Count

(\ A_
A true bill rendered \ \

DALLAS FOREPERSON

 

 

Filed in open court this Z day of December, 2019.

No Warrant Needed

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Magistraté Court Number: 3/19-MJ-01015-BT

 

 

 

 

 

 

 
